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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

IN RE: CHINESE-MANUFACTURED
DRYWALL PRODUCTS LIABILITY                         MDL NO. 2047
LITIGATION                                         SECTION: L
                                                   JUDGE FALLON
THIS DOCUMENT RELATES TO:                          MAG. JUDGE WILKINSON
ALL CASES AND

Payton, et al. v. Knauf Gips, KG, et al.
Case No. 2:09-cv-07628 (E.D. La.)

Wiltz, et al. v. Beijing New Building Materials
Public Limited Co., et al.
Case No. 2:10-cv-00361 (E.D. La.)

Gross, et al. v. Knauf Gips, KG, et al.
Case No. 2:09-cv-06690 (E.D. La.)

Rogers, et al. v. Knauf Gips, KG, et al.
Case No. 2:10-cv-00362 (E.D. La.)

Amato, et al. v. Liberty Mutual Ins. Co., et al.
Case No. 2:10-cv-00932 (E.D. La.)

Hernandez, et al. v. AAA Insurance, et al.
Case No. 2:10-cv-03070 (E.D. La.)

Abel, et al. v. Taishan Gypsum Co., Ltd., f/k/a
Shandong Taihe Dongxin Co., Ltd., et al.
Case No. 2:11-cv-00080 (E.D. La.)

Abreu, et al. v. Gebrueder Knauf
Verwaltungsgesellschaft, KG, et al.
Case No. 2:11-cv-00252 (E.D. La.)

Haya, et al. v. Taishan Gypsum Co., Ltd.,
f/k/a Shandong Taihe Dongxin Co., Ltd., et
al.
Case No. 2:11-cv-01077 (E.D. La.)

Vickers, et al. v. Knauf Gips KG, et al.
Case No. 2:09-cv-04117 (E.D. La.)
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               JOINT MOTION FOR AN ORDER: (1) PRELIMINARILY
           APPROVING STIPULATION AND AGREEMENT OF SETTLEMENT;
               (2) CONDITIONALLY CERTIFYING CLASS; (3) ISSUING
             CLASS NOTICE; AND (4) SCHEDULING FAIRNESS HEARING

               Proposed Class Counsel, the Plaintiffs’ Steering Committee (“PSC”), Counsel for

Banner Supply Co., Banner Supply Co. Pompano, LLC, Banner Supply Co. Port St. Lucie, LLC

(“Banner PSL”), Banner Supply Co. Ft. Myers, LLC, Banner Supply Co. Tampa, LLC, Banner

Supply International, LLC, and any other entity insured under the Banner Insurance Policies

(collectively, “Banner”), and Counsel for Banner’s insurers, Chartis,1 FCCI,2 Hanover,3 and

Maryland Casualty4 (collectively, the “Insurers”), hereby jointly move this Court for an Order:

       1.      Conditionally certifying the Class for purposes of Settlement;

       2.      Granting preliminary approval to the proposed Settlement as detailed in the

Stipulation and Agreement of Settlement dated June 10, 2011 (the "Settlement");

       3.      Appointing the following class representatives: Dr. Robert Brown, Felix Diaz,

Amelia De Jesus, Richard Sage, Villa at Oak Hammock, LLC, and WM Townhomes, LLC;

       4.      Appointing Russ Herman, Arnold Levin, and Ervin Gonzalez as Class Counsel

and the Plaintiffs’ Steering Committee (“PSC”) as Of Counsel;


       1
          “Chartis” includes Chartis Specialty Insurance Company (formerly known as
“American International Specialty Lines Insurance Company”), Illinois National Insurance Co.,
National Union Fire Insurance Company of Pittsburgh, Pa., Commerce & Industry Insurance
Co., and any other sister entities or entities related to the foregoing or to American International
Group, Inc.
       2
          “FCCI” includes FCCI Insurance Company, FCCI Commercial Insurance Company,
National Trust Insurance Company, FCCI Mutual Insurance Holding Company, FCCI Group,
Inc., FCCI Insurance Group, Inc., Monroe Guaranty Insurance Company, FCCI Services, Inc.,
FCCI Advantage Insurance Company, Brierfield Insurance Company, and FCCI Agency, Inc.
       3
         “Hanover” includes Hanover American Insurance Company and Hanover Insurance
Group, Inc.
       4
         “Maryland Casualty” includes Maryland Casualty Company and all companies in the
Zurich North America group of insurance companies.


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       5.      Approving the form and manner of Notice to Class Members with deadlines for

Opt Outs and Objections; and

       6.      Scheduling a Fairness Hearing.

This Joint Motion is supported by the accompanying Memorandum of Law and the Settlement

(with exhibits) filed contemporaneously herewith.

               WHEREFORE, Proposed Class Counsel, the PSC, Banner and the Insurers

respectfully request that, after due consideration, the Court: (1) grant this Motion for

Preliminary Approval of Settlement and Certification of a Conditional Settlement Class; and (2)

issue the Proposed Order Preliminarily Approving Settlement and Providing for Class Notice.

                                          Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I hereby certify that the above and foregoing has been served on Defendants’ Liaison

Counsel, Kerry Miller, by e-mail and upon all parties by electronically uploading the same to

LexisNexis File & Serve in accordance with Pre-Trial Order No. 6, and that the foregoing was

electronically filed with the Clerk of Court of the United States District Court for the Eastern

District of Louisiana by using the CM/ECF System, which will send a notice of electronic filing

in accordance with the procedures established in MDL 2047 on this 14th day of June, 2011.



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